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                   8

                   9                                  UNITED STATES DISTRICT COURT

                  10                                EASTERN DISTRICT OF CALIFORNIA

                  11   GARRISON JONES,                                        Case No. 2:19-cv-02374-KJM-JDP

                  12                  Plaintiff,                              MEMORANDUM OF POINTS AND
                                                                              AUTHORITIES IN SUPPORT OF MOTION
                  13          v.                                              FOR SUMMARY JUDGMENT

                  14   VELOCITY TECHNOLOGY SOLUTIONS,                         [Filed Concurrently with Notice of Motion for
                       INC.; SHAUNA COLEMAN, individually                     Summary Judgment; Separate Statement of
                  15   and as H.R. Director of Velocity Technology            Undisputed Facts; Request for Judicial Notice;
                       Solutions; CHRIS HELLER, individually and              Declaration of Jennifer Colvin]
                  16   as General Counsel of Velocity Technology
                       Solutions; STEVEN KLOEBLEN,                            DATE:     September 16, 2021
                  17   individually and as CEO of Velocity                    TIME:     10:00 AM
                       Technology Solutions; MICHAEL                          LOCATION: Courtroom 9, 13th Floor
                  18   BALDWIN, individually and as an employee                         501 I Street
                       of Velocity Technology Solutions.                                Sacramento, CA 95814
                  19
                                      Defendants.
                  20                                                          Complaint Filed: November 25, 2019
                                                                              Trial Date:       None Set
                  21                                                          Magistrate Judge: Hon. Jeremy D. Peterson
                                                                              District Judge:   Hon. Kimberly J. Mueller
                  22

                  23   I.     INTRODUCTION

                  24          Summary judgment should be granted in favor of Defendant because Plaintiff released the

                  25   claims he asserts in this case.

                  26          This employment dispute concerns the lawful separation of employment of Plaintiff Garrison

                  27   Jones (“Plaintiff”) by his former employer, Defendant Velocity Technology Solutions, Inc.

44914614_1.docx   28   (“Velocity”). As discussed in the papers already on file, Plaintiff began working for Velocity in

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                   1   February 2017. He suffered a stroke in November of that same year. Although Plaintiff was not
                   2   eligible for job-protected leave under the Family and Medical Leave Act (FMLA) because he had
                   3   not been employed for at least 12 months by the company, Velocity nevertheless gave him time off
                   4   from work and held open Plaintiff’s position. Upon his one year anniversary with the company
                   5   (February 20, 2018), Velocity granted Plaintiff twelve additional weeks of job-protected leave under
                   6   the FMLA.
                   7             While on leave, Plaintiff filed a lawsuit against Velocity in the United States District Court
                   8   for the Northern District of Illinois. He never returned to work again for Velocity and, on August 16,
                   9   2018, entered into a Confidential Negotiated Settlement Agreement and Full Release with Velocity,
                  10   agreeing to dismiss the Illinois lawsuit and releasing “all known and unknown causes of action,
                  11   claims, allegations, liabilities, losses, and damages of any kind,” including “any claims: … (e) for
                  12   violation of state or federal common law or statutory law including all claims arising under…the
                  13   Family Medical Leave Act…”
                  14             Based on these undisputed facts, Plaintiff has released his claims in this action, regardless of
                  15   whether the Court accepts Plaintiff’s Complaint [DKT 1] or the FAC [DKT 41] as the operative
                  16   pleading.1 All of Plaintiff’s claims in the Complaint and FAC relate to an alleged interference with
                  17   rights under, or direct violations of, the FMLA during Plaintiff’s employment. Because Plaintiff has
                  18   released these claims, Velocity’s motion should be granted in full.
                  19   II.       STATEMENT OF ALLEGATIONS AND FACTS
                  20             A.      Velocity Employs Garrison Jones and He Experiences a Stroke
                  21             Plaintiff alleges that he began working for Velocity in February 2017. [DKT 1 P. 22/47 ¶ 21;
                  22   DKT 41 P. 10/41 Lines 13-16.] He experienced a stroke in November of that same year. [DKT 1 P.
                  23   23/47 ¶¶ 21, 43; DKT 41 P. 3/41 ¶ 4.] Because he was not then eligible for leave under the Family
                  24   and Medical Leave Act, Velocity placed Jones on a temporary medical leave of absence beginning
                  25   in November 2017. [DKT 41 P. 9.]
                  26   ////
                  27

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                           As of the filing of this motion, the Court has not ruled on Velocity’s September 25, 2020 Motion to Dismiss the
                           Complaint and/or FAC. [DKT 43.]
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                   1          B.      Velocity Provides Plaintiff with Medical Leave as an Accommodation From
                                      November 2017 Until He Qualifies for Leave under the FMLA on February 20,
                   2                  2018
                   3          On January 23, 2018, Velocity sent Plaintiff papers regarding his eligibility for leave under

                   4   the FMLA. [DKT 41 P. 9.] Plaintiff returned those papers on February 8, 2018. Id. On February

                   5   14, 2018, Velocity’s Director of Human Resources emailed Plaintiff explaining that he had not been

                   6   eligible for leave under the FMLA at the time of his stroke but that he would become eligible on his

                   7   one year anniversary with the company. Id. She explained that he would become eligible for leave

                   8   under the FMLA on February 20, 2018, and that leave would start and run for twelve consecutive

                   9   weeks. Id. Velocity then granted Plaintiff leave under the FMLA from February 20 to May 15,

                  10   2018. Id.

                  11          C.      While on Job-Protected Leave under the FMLA, Plaintiff Files Suit in the
                                      United States District Court for the Northern District of Illinois
                  12

                  13          On May 8, 2018, Plaintiff, proceeding pro se, filed a lawsuit in the United States District

                  14   Court for the Northern District of Illinois, Garrison Jones v. Velocity Technology Solutions, et al.,

                  15   Case No. 1:18-cv-03288.         He alleged numerous causes of action, including harassment,

                  16   discrimination, and other employment-related claims. See, Defendant’s Request for Judicial Notice

                  17   (“RJN”), Exh. A.

                  18          D.      Plaintiff Settles the Illinois Case and Releases All Known and Unknown
                                      Claims, Specifically Including FMLA Claims
                  19

                  20          On August 16, 2018, Plaintiff and Velocity entered into a Confidential Negotiated Settlement

                  21   Agreement and Full Release (“Settlement Agreement”) of the Illinois case. [Statement of Undisputed

                  22   Facts, No. 1.] In exchange for consideration outlined therein, Plaintiff released Velocity “from all

                  23   known and unknown causes of action, claims, allegations, liabilities, losses, and damages of any

                  24   kind…” including “…(e) for violation of state or federal common law or statutory law including all

                  25   claims arising under Title VII of the Civil Rights Act of 1964, the Employee Retirement Income

                  26   Security Act, the National Labor Relations Act, the Labor Management Relations Act, the Family

                  27   and Medical Leave Act, the Fair Labor Standards Act… and other federal, state, or local laws relating

44914614_1.docx   28   to employment or separation from employment or benefits associated with employment…” Id. at ¶ 2

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                   1   (emphasis added) [Statement of Undisputed Facts, No. 2.] The parties filed a Stipulation for
                   2   Voluntary Dismissal of the Illinois lawsuit, with prejudice, that same day. [RJN, Exh. B.]
                   3   III.      LEGAL STANDARD FOR SUMMARY JUDGMENT
                   4             A Motion for Summary Judgment should be granted whenever the moving party demonstrates
                   5   that there exists “no genuine dispute as to any material fact” and that the movant is therefore “entitled
                   6   to judgment as a matter of law.” Fed. R. Civ. Proc. 56(a). “Only disputes over facts that might affect
                   7   the outcome of the suit under the governing law will properly preclude the entry of summary
                   8   judgment.” Anderson v Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
                   9             The party seeking a grant of summary judgment bears the initial burden of informing the
                  10   court of the basis for its motion and, in particular, the absence of any genuine issue of material fact.
                  11   Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); see also Horphag Research Ltd. v. Garcia, 475
                  12   F.3d 1029, 1035 (9th Cir. 2007). A genuine issue of material fact exists if “the evidence is such that
                  13   a reasonable jury could return a verdict for the nonmoving party,” and material facts are those “that
                  14   might affect the outcome of the suit under governing law.” Anderson, 477 U.S. at 248. There is no
                  15   genuine issue of material fact if “the record taken as a whole could not lead a rational trier of fact to
                  16   find for the nonmoving party.” Matsuhita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S, 574, 587
                  17   (1986).
                  18             Affirmative defenses may be adjudicated in a motion for summary judgment. Magana v.
                  19   Commonwealth of the Northern Mariana Islands, 107 F.3d 1436, 1446 (9th Cir. 1997) (noting rule
                  20   but finding defense not raised in answer).
                  21   IV.       RELEVANT PROCEDURAL HISTORY
                  22             Plaintiff filed the Complaint on November 25, 2019. [DKT 1.] The Complaint named
                  23   Velocity and several individuals as defendants. In the Complaint, Plaintiff purported to assert various
                  24   claims arising from his employment and separation of employment with Velocity.
                  25             On July 31, 2020, this Court, issued an Order and Findings and Recommendations in which
                  26   it found that Plaintiff’s Complaint, for screening purposes, alleges a potentially cognizable FMLA
                  27   claim against Velocity based on the termination of Plaintiff’s employment, and that all other claims

44914614_1.docx   28   were dismissed with leave to amend within thirty days. [DKT 29.] The Court directed Plaintiff to

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                   1   file a Notice advising the Court whether Plaintiff would elect to proceed with the cognizable FMLA
                   2   claim or file an amended complaint. Id.
                   3          On August 7, 2020, Plaintiff filed a Notice of Election to Proceed only with the FMLA
                   4   interference claim. [DKT 30.] On August 12, 2020, the Court issued an Order based on this Election,
                   5   by which service was to be effected on Velocity. [DKT 31.]
                   6          Notwithstanding his election to proceed only with the FMLA interference claim rather than
                   7   file an amended complaint, Plaintiff filed the First Amended Complaint (“FAC”) on September 10,
                   8   2020. [DKT 41.] The FAC purported to state the claims that this Court had dismissed. Velocity
                   9   filed a Motion to Dismiss pursuant to Fed. R. Civ. Proc. 41(b) and 12(b)(6) on September 25, 2020.
                  10   [DKT 43.] In the Motion to Dismiss, Velocity asked the Court to enter an order dismissing the
                  11   Complaint [DKT 1] and the improperly filed FAC [DKT 42] or, in the alternative, dismissing the
                  12   FAC. The Court has not yet ruled on this Motion.
                  13          On November 13, 2020, Velocity filed its Answer to the Complaint [DKT 62]. As required
                  14   by Federal Rule of Civil Procedure 8(c), Velocity asserted release as an affirmative defense:
                  15                  Plaintiff’s Complaint, and each alleged (and surviving) cause of
                                      action therein, is barred because and to the extent that Plaintiff
                  16                  previously settled and released all rights to the claims presented
                                      herein.
                  17

                  18   [DKT 62, at ¶ 11.]

                  19          The Motion to Dismiss [DKT 43] provides the Court with adequate grounds to dismiss the
                  20   Complaint and, to the extent it is deemed properly filed, the FAC. Nevertheless, because the
                  21   Settlement Agreement provides an additional, independent basis to terminate this case, Velocity files
                  22   this Motion as an alternative to its Motion to Dismiss.
                  23   V.     THE SETTLEMENT AGREEMENT AND FULL RELEASE COVERS EVERY
                              CLAIM ASSERTED IN THIS ACTION.
                  24

                  25          A release of claims is “governed by the principles of local law which apply to [the]
                  26   interpretation of contracts generally.” United Commercial Ins. Service, Inc. v. Paymaster Corp., 962
                  27   F.2d 853, 856 (9th Cir. 1992) (internal citations omitted). The Settlement Agreement includes an

44914614_1.docx   28   Arizona choice of law provision: “The Parties agree this Agreement will be governed by Arizona

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                   1   law.” [Declaration of Jennifer Colvin in support of Defendant’s Motion for Summary Judgment ¶ 3,
                   2   Exhibit 1.] Under Arizona law, when interpreting a contract, the court seeks to discover and
                   3   effectuate the parties’ expressed intent. Taylor v. State Farm Mut. Auto. Ins. Co., 175 Ariz. 148, 152
                   4   (1993). In doing so, courts construe the provisions “according to their plain and ordinary meaning,”
                   5   First Am. Title Ins. Co. v. Johnson Bank, 239 Ariz. 348, 350 (2016), unless it can be shown that the
                   6   parties intended a special meaning. Taylor, 175 Ariz. at 153. A provision’s meaning must be
                   7   considered in the context of the entire contract. See, Climate Control, Inc., v. Hill, 86 Ariz. 180, 188
                   8   (1959). Courts must reconcile and give effect to all terms of the contract to avoid any term being
                   9   rendered superfluous. Taylor, 175 Ariz. at 158, fn. 9.2
                  10              In this case, the language of the Settlement Agreement is clear:
                  11                  “To the fullest extent legally permissible, Jones knowingly and
                                      voluntarily releases, relinquishes, waives, and forever discharges the
                  12                  Company… from all known and unknown causes of action, claims,
                                      allegations, liabilities, losses, and damages of any kind Jones has
                  13                  alleged, brought or sought or could allege, bring or seek against Released
                                      Parties as of and including the date this Agreement is executed by Jones,
                  14                  including those based on additional or later discovered facts,
                                      circumstances, information, claims, causes of action, or theories. This
                  15                  Agreement does not, however, apply to any claim that cannot be released
                                      as a matter of law including those that arise after Jones signs this
                  16                  Agreement.
                  17
                                      Potential claims against the Released Parties that Jones is releasing,
                  18                  include, but are not limited to, any claims: (a) arising out of or based
                                      on Jones’s employment with the Company and/or his resignation thereof;
                  19                  (b) arising under the Company’s policies, plans, or practices, including
                                      those regarding promotion, compensation, overtime pay, commissions,
                  20                  vacation pay, bonuses, expenses, or benefits; (c) based in tort, contract, or
                                      equity… (d) for harassment, discrimination, retaliation or violation of
                  21
                                      public policy; (e) for violation of state or federal common law or
                  22                  statutory law including all claims arising under Title VII of the Civil
                                      Rights Act of 1964…the Family and Medical Leave Act… the Age
                  23                  Discrimination in Employment Act, the Older Workers Benefit and

                  24

                  25   2
                           Although the parties agreed that Arizona law would govern the Settlement Agreement, California law is similar. When
                           considering a release, the court should “give effect to the parties’ mutual intent as it existed” when they entered into
                  26       their agreement. Marder v. Lopez, 450 F.3d 445, 449 (9th Cir. 2006) (quoting Skrbina v. Fleming Cos, 45 Cal.App.4th
                           1353 (1996)). Absent ambiguity or uncertainty in the agreement, the parties’ intent should be inferred from the
                  27       language in the release. Id. (citing Cal. Civ. Code §§ 1638, 1639). “ ‘Where contract language is clear and explicit and
                           does not lead to absurd result, [the court] ascertains intent from the written terms and go[es] no further.’ ” Shaw v.
44914614_1.docx   28       Regents of Univ. of Cal., 58 Cal.App.4th 44, 53 (1997) (quoting Ticor Title In. Co. v. Employers Ins. Of Wausau, 40
                           Cal.App.4th 1699, 1707 (1995)).
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                   1              Protection Act, the Equal Pay Act… and other federal, state, or local laws
                                  relating to employment or separation from employment or benefits
                   2              associated with employment; and (f) for emotional distress, mental
                   3              anguish, humiliation, or personal injury.”
                       [Statement of Undisputed Facts, No. 2 (emphasis added).]
                   4

                   5          The broad release language of the Settlement Agreement covers the claims asserted in this

                   6   case. It starts by releasing “all known and unknown causes of action, claims, allegation, liabilities,

                   7   losses, and damages of any kind Jones has alleged, brought or sought or could allege, bring or seek

                   8   against the Released Parties as of and including” the date it was signed, which was August 16, 2018.

                   9   The Settlement Agreement then recites a non-exhaustive list of examples of the claims Plaintiff

                  10   agreed to release, including “any claims… (a) arising out of or based on Jones’s employment with

                  11   the Company…”; “any claims… (e) for violation of state or federal common law or statutory law

                  12   including all claims arising under… the Family and Medical Leave Act…”; “any claims… (f) “for

                  13   emotional distress, mental anguish, humiliation [and] personal injury.” Id. These are the exact

                  14   claims pleaded by Plaintiff in the Complaint and FAC. [DKT 1 and 41.]

                  15          Because Jones has released his claims in this matter, Velocity has shown that there is no

                  16   genuine dispute as to any material fact and Velocity is entitled to judgment on its Seventh Affirmative

                  17   Defense (Release). [DKT 62, at ¶ 11.]

                  18   VI.    CONCLUSION
                  19          Plaintiff previously filed a lawsuit in the Northern District of Illinois arising out of his

                  20   employment with Velocity and the termination of that employment. He settled that lawsuit for a

                  21   substantial sum in exchange for a complete release of claims. More than a year later, Plaintiff brought

                  22   the instant action asserting claims he expressly released. Plaintiff’s claims are barred and summary

                  23   judgment must be granted in Velocity’s favor.

                  24   DATED: August 13, 2021                           OGLETREE, DEAKINS, NASH,
                                                                        SMOAK & STEWART, P.C.
                  25

                  26                                                    By:    /s/ Anthony J. DeCristoforo
                                                                              Anthony J. DeCristoforo
                  27                                                          Paul M. Smith
                  28                                                          Attorneys for Defendant VELOCITY
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